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October 18, 201 ?

VIA ECF AND FACSIMILE- (212) 805-7986
Honorable Paul G. Gardephe

United States District Court

Southern District ofNew York

40 Foley Square, Room 2204

New York._ New York 1000'?

Re: Hartford Fire [ns. Co. afsfo Mark Fisher LLC v. Kesco Logistics, Inc.
Docket No. 17 CV 04569 (PGG'_)
Our ref: 464-30

Honorable Paul G. Gardephe:

We are counsel for Plaintiff in the captioned matter and submit this joint letter in
accordance with Your Honor’s Order and Notice of Initial Conference dated June 28, 201?, in
advance of the Initial Conference scheduled before Your Honor on Thursday, October 19, 201 ?,
at 10:30 a.m. in Courtroom ?05 of the Thurgood Marshall United States Courthouse, 40 Foley
Square, New York, New York..

This matter involves a claim in admiralty relating to alleged water damage to 67 cartons
ot` ladies shoes, which Defendant Kesco stowed in ocean shipping container MAGU521841, for
carriage from Hong Kong to Rotterdam aboard the vessel CMA CGM LAPEROUSE on voyage
063FFW, pursuant to ocean bills of lading issued by defendant Kesco Logistics, lnc., as a non-
vessel owning common carrier (NVOCC). Upon delivery at destination Plaintiff alleges that the
container was delivered with fresh water damage to the cartons of shoes.

Counsel for both parties discussed a mutually agreeable settlement figure which was
recommended by counsel to their respective clients. We are pleased to advise and confirm that
both parties have agreed to the recommended settlement amount and the matter is now
considered settled.

We are in the process ot` exchanging the closing documents and awaiting settlement
payment to consummate the settlement We respectfully request that the Court issue a 30 day
order of Discontinuance while the parties consummate the settlement

The parties thank Your Honor for your kind attention to the foregoing and look forward
to addressing any questions Your Honor may have with respect to the foregoing We also

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Honorable Paul G. Gardephe
United States Distriet Court
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respectfully request that Your Honor favorable consider our request that a 30 day Order of
Discontinuance be issued by the Court while the parties consummate the settlement.

Respectfully submitted,

, .CASE_Y d BARNETT, LLC
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landes P. Kraua}is

cc: VIA ECF AND EMAIL
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